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                IN THE tThITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA                  F ?:7
                           WAYCROSS DIVISION

     ITED STATES OF AMERICA       )

v.
                                         CASE NO. CR506-05
ANTHONY WILLIAMS,

       Defendant.


                              ORDER

       Before the Court is Defendant Anthony Williams's

"Notice to Clerk." (Doc. 202.) Defendant requests that

the sentence imposed by this Court on November 29, 2007 be

reduced for acceptance of responsibility.

       The Court already considered whether to award a two-

point reduction for acceptance of responsibility based upon

Defendant's decision to plead guilty. At sentencing, the

Court denied credit for acceptance of responsibility

because of Williams's continued drug use while on pretrial

release. See United States v. Gonsalves, 121 F.3d 1416,

1420 (11th Cir. 1997) (denying adjustment for acceptance of

responsibility where the defendant tested positive for drug

use during his pretrial release) . The Court finds no

reasons to disturb its previous decision, and the request

is therefore DENIED.
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     The Court also denies the Government's request that

William's "Notice to Clerk" be construed as a petition

pursuant to 28 U.S.C. § 2255.

 SO ORDERED this2/.— day of July, 2008.




                           WILLIAM T. MOORE, JR., CHIEF JUDGE
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA




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